        Case 1:23-cv-09090-VEC                Document 12           Filed 01/09/24   Page 1 of 1




UNITED STATES DISTICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
CLAUDIO DAREZZO,

                                        Plaintiff(s),

              v.                                                   NOTICE OF APPEARANCE

                                                                   Case No.: 1:23-cv-09090-VEC
RECREATIONAL PLUS LEV INC.
AND 84 HOYT LLC,

                                         Defendant(s).
---------------------------------------------------------------X

To: The Clerk of Court and all parties of record:


       I am admitted or otherwise authorized to practice in this Court and I appear in this matter

for the Defendant 84 HOYT LLC.




Dated: Manhasset, New York
       January 9, 2024                                        /s/ Mitchell Segal
                                                            __________________________________
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